         CASE 0:22-cv-02349-ECT-LIB Doc. 1 Filed 09/26/22 Page 1 of 11




                             In the U nit
                                        e d State sDistrictCourt
                                fort he Districtof M inne sot
                                                            a
                                      St.Pa ulDivision

Ge ra rd o M ora ,

               Pla intiff,

       v.                                         M a g ist
                                                          ra t
                                                             e Jud g e

H BH B,LLC,d /b /a The Point
                           e Ba ra nd             JuryDe m a nd End orse d H e re on
Grilla nd Rya n Ba rtle t
                        t,

               De fe nd a nt
                           s.



                               Com pla inta nd JuryDe m a nd




       1.    Pla intiff Ge ra rd o M ora (“Pla intiff”) b ring s t
                                                                 his a c t
                                                                         ion a g a inst

De fe nd a nt
            sH BH B,LLC a nd Rya n Ba rt
                                       le tt
                                           .Pla intiff se e ksa ppropria t
                                                                         e m one t
                                                                                 a ry,

d e cla ra t
           ory,and e quit
                        a b le re lief b a se d on De fe nd a nt
                                                               s’willfulfa ilure t
                                                                                 o com pe nsa t
                                                                                              e

Pla int
      iff wit
            htim e -
                   a nd -
                        one -
                            ha lf ove rt
                                       im e wa g e sforhoursworke d in e xce ssof 40

hourspe rwe e k a srequire d b y t
                                 he Fa irLa b orSt
                                                 a nd a rd sAct(“FLSA”) a nd wit
                                                                               h

t
im e -
     a nd -
          one -
              ha lf ove rt
                         im e wa g e sforhoursworke d in e xce ssof 40hourspe rwe e k

a srequire d b yt
                he M inne sot
                            a Fa irLa b orSt
                                           a nd a rd sAct(“M FLSA”).

       2.    De fe nd a ntRya n Ba rt
                                    le t
                                       tist
                                          he found e r,pre sid e nt
                                                                  ,a nd owne rof

H BH BLLC d /b /a The Point
                          e Ba ra nd Grill.




                                              1
        CASE 0:22-cv-02349-ECT-LIB Doc. 1 Filed 09/26/22 Page 2 of 11




       3.    Pla int
                   iff worke d forDe fe nd a ntfrom on ora round Se pt
                                                                     e m b e r2019 t
                                                                                   o

on ora round Aug ust2022.

                           JURISDICTION AND VENUE

       4.    U nd e r 28 U .
                           S.C.§ 1331 a nd 29 U .
                                                S.C.§ 216(b ),t
                                                              his Courtha s

jurisd ict
         ion ove rPla int
                        iff’sFLSA cla im sa nd supple m e nt
                                                           a ljurisd ict
                                                                       ion und e r28

U.
 S.C.§ 136
         7ove rhisM inne sot
                           a st
                              ate la w cla im sb e ca use t
                                                          he ca use sof a ct
                                                                           ion a rise

from t
     he sa m e fa ct
                   sa st
                       he fe d e ra lcla im s.

       5.    V e nue is prope r und e r 28 U .
                                             S.C.§ 1391(b ) b e ca use De fe nd a nt
                                                                                   s’

principa lpla ce of b usine ssisloca t
                                     e d a t6
                                            507 H a rb orPla ce N E,PriorLa ke ,M N

55372,whichisloca t
                  e d in t
                         hisDist
                               rict
                                  .

                                       PARTIES

Gerardo Mora

       6
       .     Pla int
                   iff Ge ra rd o M ora isa resid e ntof M inne sot
                                                                  a.

       7.    Ata llt
                   im e sre le va nthe re in,Pla int
                                                   iff wa sa n “e m ploye e ”of De fe nd a nt
                                                                                            s

a sd e fine d in t
                 he FLSA a nd M FLSA.

       8.    Pla int
                   iff wa scla ssified a sa “non-
                                                e xe m pt
                                                        ”e m ploye e .

       9.    Ge ra rd o M ora ha sg ive n writ
                                             te n conse ntt
                                                          o join t
                                                                 hisa ct
                                                                       ion.

HBHB, LLC d/b/a The Pointe Bar and Grill

       10. De fe nd a ntH BH B,
                              LLC d /b /a The Point
                                                  e Ba ra nd Grill(“The Point
                                                                            e Ba r

a nd Grill”) isa d om e st
                         ic lim it
                                 e d lia b ilit
                                              yc om pa nyorg a nize d und e rt
                                                                             he la wsof t
                                                                                        he

St
 ate of M inne sot
                 a.



                                            2
        CASE 0:22-cv-02349-ECT-LIB Doc. 1 Filed 09/26/22 Page 3 of 11




      11. De fe nd a nt
                      ’sprincipa lpla ce of b usine ssisloca t
                                                             e d a t6
                                                                    507H a rb orPla ce

N E,PriorLa ke ,M inne sot
                         a 55372.

      12. The Point
                  e Ba ra nd Grillisa n “e m ploye r” of Pla int
                                                               iff a st
                                                                      ha tt
                                                                          e rm is

d e fine d b yt
              he FLSA.

      13. The Point
                  e Ba ra nd Grillisa n “e m ploye r” of Pla int
                                                               iff a st
                                                                      ha tt
                                                                          e rm is

d e fine d b yt
              he M FLSA.

      14. The Point
                  e Ba r& Grillwa sfound e d b yRya n Ba rt
                                                          le t
                                                             t,who re m a inst
                                                                             he

owne rof The Point
                 e Ba ra nd Grill.

      15. “H BH BLLC”ist
                       he corpora t
                                  e e nt
                                       ityt
                                          ha ta ppe a rson Pla int
                                                                 iff’spa yst
                                                                           ub s

forwork he com ple t
                   e d forDe fe nd a nt
                                      s.

      16
       . Ata llre le va ntt
                          im e s,The Point
                                         e Ba ra nd Grillha sm a int
                                                                   a ine d cont
                                                                              rol,

ove rsig ht
          ,a nd d ire ct
                       ion ove rPla int
                                      iff,includ ing ,b utnotlim it
                                                                  ed t
                                                                     o,hiring ,firing ,

d isciplining ,t
               im e ke e ping ,pa yroll,and ot
                                             he rpra ct
                                                      ice s.

      17. Ata llre le va ntt
                           im e s,The Point
                                          e Ba ra nd Grillha sb e e n a nd cont
                                                                              inue s

t
o b e a n e nt
             e rprise e ng a g e d in “t
                                       he prod uct
                                                 ion of g ood sforcom m e rce ”wit
                                                                                 hin t
                                                                                     he

m e a ning of t
              he phra se a suse d b yt
                                     he FLSA.

      18. The Point
                  e Ba ra nd Grill’sg rossre ve nue e xce e d s$500,
                                                                   000pe rye a r.

Ryan Bartlett

      19. Rya n Ba rt
                    le t
                       tist
                          he owne rof The PointBa ra nd Grill.

      20. U pon inform a t
                         ion a nd b e lief,Rya n Ba rt
                                                     le t
                                                        tre sid e s in PriorLa ke ,

M inne sot
         a.



                                           3
         CASE 0:22-cv-02349-ECT-LIB Doc. 1 Filed 09/26/22 Page 4 of 11




       21. Ata llre le va nttim e s,Rya n Ba rtle t
                                                  tha sb e e n a n “e m ploye r”of Pla intiff

a st
   ha tt
       e rm isd e fine d b yt
                            he FLSA.

       22. Ata llre le va nttim e s,Rya n Ba rtle t
                                                  tha sb e e n a n “e m ploye r”of Pla intiff

a st
   ha tt
       e rm isd e fine d b yt
                            he M FLSA.

       23. Ata ll re le va nttim e s,Rya n Ba rt
                                               le t
                                                  tha sb e e n a c t
                                                                   ive ly involve d in

m a na g ing t
             he ope ra tionsof Ce nt
                                   ra lU SA.

       24. Ata llre le va ntt
                            im e s,Rya n Ba rtle t
                                                 tha sha d c ont
                                                               rolove rDe fe nd a nt
                                                                                   s’

pa ypolicie sa nd t
                  he unla wfulpolicie sa nd pra c t
                                                  ice sa lle g e d he re in.

       25. Ata llre le va nttim e s,Rya n Ba rtle ttha sha d powe rove rpe rsonne l

a nd pa yrolld e c isionsa tThe PointBa ra nd Grill.

       26
        . Ata llre le va nttim e s,Rya n Ba rtle ttha sha d the powe rto stop a ny

ille g a lpa ypra c tice stha tha rm e d Pla intiff.

       27. Ata llre le va nttim e s,Rya n Ba rtle ttha sha d the powe rto tra nsfe r

a sse tsa nd lia b ilitie sof The PointBa ra nd Grill.

       28. Ata llre le va nttim e s,Rya n Ba rtle ttha sha d the powe rto d e c la re

b a nkruptcyon b e ha lf of The PointBa ra nd Grill.

       29. Ata llre le va nttim e s,Rya n Ba rtle ttha sha d the powe rto e nterinto

c ontra c tson b e ha lf of The PointBa ra nd Grill.

       30. Ata llre le va nttim e s,Rya n Ba rtle ttha sha d the powe rto c lose ,shut

d own,a nd /orse llThe PointBa ra nd Grill.




                                              4
        CASE 0:22-cv-02349-ECT-LIB Doc. 1 Filed 09/26/22 Page 5 of 11




                                 Factual Allegations

       31. Pla int
                 iff worke d forDe fe nd a nt
                                            sfrom on ora round Se pt
                                                                   e m b e r2019 t
                                                                                 o

Aug ust2022 a sa line cook in t
                              he kit
                                   che n.

       32. Pla int
                 iff’sjob d ut
                             iesinclud e d pre pa ring food ,cooking d ishe s,pla t
                                                                                  ing

food ,and cle a ning t
                     he kit
                          che n.

       33. Pla int
                 iff wa scla ssified a sa non-
                                             e xe m pte m ploye e und e rt
                                                                         he FLSA.

       34. Pla int
                 iff com ple t
                             e d his d ut
                                        ies a t t
                                                he re que st a nd inst
                                                                     ruct
                                                                        ion of

De fe nd a nt
            s.

       35. Pla int
                 iff d id notinvolve m a na g e m e ntof De fe nd a nt
                                                                     s’ e nt
                                                                           e rprise ora

sub d ivision t
              he re of.

       36
        . Pla int
                iff d id notd ire ctt
                                    he work of t
                                               wo or m ore ot
                                                            he r full-
                                                                     tim e

e m ploye e s.

       37. Pla int
                 iff d id notha ve t
                                   he a ut
                                         horit
                                             yto hire orfire ot
                                                              he re m ploye e s,nor

wa shisrecom m e nd a t
                      ion wit
                            hrespe ctt
                                     o hiring ,firing ,
                                                      a d va nce m e nt
                                                                      ,prom ot
                                                                             ion,or

ot
 he rcha ng e in st
                  atusof ot
                          he re m ploye e g ive n we ig htb yDe fe nd a nt
                                                                         s.

       38. Pla int
                 iff’sprim a ry d ut
                                   y d id notinvolve office ornon-
                                                                 m a nua lwork

d irect
      lyre la t
              ed t
                 o m a na g e m e ntorg e ne ra lb usine ssope ra t
                                                                  ionsof De fe nd a nt
                                                                                     s.

       39. Pla int
                 iff wa snotpe rm it
                                   ted t
                                       o e xe rcise d iscre t
                                                            ion a nd ind e pe nd e nt

jud g m e ntwit
              hre spe ctt
                        om at
                            te rsof sig nifica nce rela t
                                                        ing t
                                                            o De fe nd a nt
                                                                          s’ope ra t
                                                                                   ions.

       40. From April2021t
                         o Aug ust2022,Pla int
                                             iff reg ula rlyworke d 50-
                                                                      60hours

pe rwe e k.



                                            5
        CASE 0:22-cv-02349-ECT-LIB Doc. 1 Filed 09/26/22 Page 6 of 11




      41. Pla int
                iff re g ula rly clocke d in via t
                                                 im e -
                                                      ca rd ,which t
                                                                   ra cke d a llhours

worke d pe rpa ype riod .

      42. Pla int
                iff wa spa id b iwe e klya nd hispa yst
                                                      ub srefle ct
                                                                 e d hoursworke d

pe rpa ype riod .

      43. Pla int
                iff wa spa id hisre g ula rhourlyra t
                                                    e b et
                                                         we e n $19.
                                                                   00a nd $25.
                                                                             00pe r

hour.

      44. De spit
                e re g ula rlyworking in e xce ssof 40hourspe rworkwe e k,
                                                                         Pla int
                                                                               iff

wa snotprope rlypa id one a nd a ha lf t
                                       im e shisre g ula rra t
                                                             e fort
                                                                  im e worke d in e xce ss

of 40hourspe rworkwe e k.

      45. De spit
                e re g ula rlyworking in e xce ssof 48hourspe rworkwe e k,
                                                                         Pla int
                                                                               iff

wa snotprope rlypa id one a nd a ha lf t
                                       im e shisre g ula rra t
                                                             e fort
                                                                  im e worke d in e xce ss

of 40hourspe rworkwe e k.

      46
       . Forinst
               a nce ,in t
                         he pa ype riod e nd ing on June 6
                                                         ,2021,Pla int
                                                                     iff’st
                                                                          im e

re cord s show he worke d 110.
                             01 hours,b uthis pa y st
                                                    ub shows he wa s only

com pe nsa t
           e d for80hours.

      47. Forinst
                a nce ,in t
                          he pa ype riod e nd ing on June 20,2021,Pla int
                                                                        iff’st
                                                                             im e

re cord s show he worke d 112.
                             29 hours,b uthis pa y st
                                                    ub shows he wa s only

com pe nsa t
           e d for80hours.

      48. Forinst
                a nce ,in t
                          he pa ype riod e nd ing on July4,2021,Pla int
                                                                      iff’st
                                                                           im e

re cord s show he worke d 98.
                            81 hours,b uthis pa y st
                                                   ub shows he wa s only

com pe nsa t
           e d for80hours.




                                           6
       CASE 0:22-cv-02349-ECT-LIB Doc. 1 Filed 09/26/22 Page 7 of 11




      49. Forinst
                a nce ,in t
                          he pa ype riod e nd ing on July18,2021,Pla int
                                                                       iff’st
                                                                            im e

re cord s show he worke d 116
                            .78 hours,b uthis pa y st
                                                    ub shows he wa s only

com pe nsa t
           e d for80hours.

      50. Forinst
                a nce ,in t
                          he pa ype riod e nd ing on Aug ust15,2021,Pla int
                                                                          iff’s

t
im e re cord sshow he worke d 100.
                                 77 hours,b uthispa y st
                                                       ub showshe wa sonly

com pe nsa t
           e d for80hours.

      51. Forinst
                a nce ,in t
                          he pa ype riod e nd ing on O ct
                                                        ob e r10,2021,Pla int
                                                                            iff’s

t
im e re cord sshow he worke d 106
                                .23 hours,b uthispa y st
                                                       ub showshe wa sonly

com pe nsa t
           e d for80hours.

      52. Forinst
                a nce ,in t
                          he pa ype riod e nd ing on O ct
                                                        ob e r24,2021,Pla int
                                                                            iff’s

t
im e re cord sshow he worke d 104.
                                 55 hours,b uthispa y st
                                                       ub showshe wa sonly

com pe nsa t
           e d for80hours.

      53. Forinst
                a nce ,in t
                          he pa ype riod e nd ing on De ce m b e r19,2021,Pla int
                                                                                iff’s

t
im e re cord sshow he worke d 100.
                                 70hours,b uthispa y st
                                                      ub showshe wa sonly

com pe nsa t
           e d for80hours.

      54. Forinst
                a nce ,in t
                          he pa y pe riod e nd ing on Ja nua ry 2,2022,Pla int
                                                                             iff’s

t
im e re cord sshow he worke d 94.
                                47 hour,b uthispa y st
                                                     ub showshe wa sonly

com pe nsa t
           e d for80hours.

      55. Forinst
                a nce ,in t
                          he pa ype riod e nd ing on Ja nua ry16
                                                               ,2022,Pla int
                                                                           iff’s

t
im e re cord sshow he worke d 88.
                                85 hours,b uthispa y st
                                                      ub showshe wa sonly

com pe nsa t
           e d for80hours.




                                        7
        CASE 0:22-cv-02349-ECT-LIB Doc. 1 Filed 09/26/22 Page 8 of 11




      56
       . Forinst
               a nce ,in t
                         he pa ype riod e nd ing on Ja nua ry30,2022,Pla int
                                                                           iff’s

t
im e re cord sshow he worke d 101.
                                 87 hours,b uthispa y st
                                                       ub showshe wa sonly

com pe nsa t
           e d for80hours.

      57. Forinst
                a nce ,in t
                          he pa y pe riod e nd ing on M a rch 27,2022,Pla int
                                                                            iff’s

t
im e re cord sshow he worke d 114.
                                 05 hours,b uthispa y st
                                                       ub showshe wa sonly

com pe nsa t
           e d for80hours.

      58. Forinst
                a nce ,in t
                          he pa ype riod e nd ing on M a y22,2022,Pla int
                                                                        iff’st
                                                                             im e

re cord s show he worke d 104.
                             89 hours,b uthis pa y st
                                                    ub shows he wa s only

com pe nsa t
           e d for80hours.

      59. Forinst
                a nce ,in t
                          he pa ype riod e nd ing on July17,2022,Pla int
                                                                       iff’st
                                                                            im e

re cord s show he worke d 103.
                             67 hours,b uthis pa y st
                                                    ub shows he wa s only

com pe nsa t
           e d for80hours.

      6
      0. De fe nd a nt
                     s viola t
                             ed t
                                he FLSA b y fa iling t
                                                     o prope rly pa y Pla int
                                                                            iff

ove rt
     im e forhoursworke d in e xce ssof fort
                                           ype rworkwe e k.

      6
      1. De fe nd a nt
                     sviola t
                            ed t
                               he M FLSA b y fa iling t
                                                      o prope rly pa y Pla int
                                                                             iff

ove rt
     im e forhoursworke d in e xce ssof fort
                                           y-e ig htpe rworkwe e k.

                               Causes of Action
                                    Count 1
           Failure to Pay Overtime Wages –Fair Labor Standards Act
                            (29 U.S.C. § 207, etseq.)

     6
     2.     Pla int
                  iff rest
                         ate sa nd incorpora t
                                             e st
                                                he foreg oing a lle g a t
                                                                        ionsa sif full

re writ
      te n he rein.




                                         8
        CASE 0:22-cv-02349-ECT-LIB Doc. 1 Filed 09/26/22 Page 9 of 11




       6
       3. Pla intiff worke d m ore t
                                   ha n fort
                                           y hoursin one orm ore workwe e ks

d uring hise m ploym e ntwit
                           h De fe nd a nt
                                         s.

       6
       4. De fe nd a nt
                      sd id notpa y Pla int
                                          iff one a nd a ha lf t
                                                               im e shisre g ula r

hourlyra t
         e fortim e worke d in e xc e ssof fort
                                              yhourspe rworkwe e k,b utinst
                                                                          ead

pa id hisre g ula rra t
                      e.

       6
       5. By notpa ying Pla int
                              iff prope rove rtim e wa g e sfortim e worke d in

e xc e ssof fort
               yhoursin a workwe e k,
                                    De fe nd a nt
                                                sha ve willfullyviola t
                                                                      ed t
                                                                         he FLSA.

       6
       6. Asa re sultof De fe nd a nt
                                    s’ willfulviola t
                                                    ions,Pla int
                                                               iff ise ntitle d to

d a m a g e s,inc lud ing ,b utnotlim it
                                       e d to,unpa id wa g e s,liquid a ted d a m a g e s,cost
                                                                                             s,

a nd a t
       torne ys’fe e s.
                                   Count 2
     Failure to Pay Overtime Wages—Minnesota Fair Labor Standards Act
                          (Minn. Stat. § 177.25, etseq.)

6
7. Pla int
         iff re st
                 ate sa nd incorpora t
                                     e st
                                        he a lle g a t
                                                     ionsa sif fullyrewrit
                                                                         te n he re in.

6
8. Pla int
         iff worke d m ore t
                           ha n fort
                                   y-e ig hthoursin one orm ore workwe e ks

d uring hise m ploym e ntwit
                           hDe fe nd a nt
                                        s.

6
9. De fe nd a nt
               sd id notpa yPla int
                                  iff one a nd a ha lf t
                                                       im e shisreg ula rhourlyra t
                                                                                  e

fort
   im e worke d in e xce ssfort
                              y-e ig hthourspe rworkwe e k,b utinst
                                                                  e a d pa id his

re g ula rra t
             e.

70. Bynotpa ying Pla int
                       iff prope rove rt
                                       im e wa g e sfort
                                                       im e worke d in e xce ssof

fort
   y-e ig hthoursin a workwe e k,De fe nd a nt
                                             sha ve willfullyviola t
                                                                   ed t
                                                                      he M FLSA.




                                             9
         CASE 0:22-cv-02349-ECT-LIB Doc. 1 Filed 09/26/22 Page 10 of 11




71. Asa re sultof De fe nd a nt
                              s’willfulviola t
                                             ions,Pla intiff ise ntitle d t
                                                                          o d a m a g e s,

inc lud ing ,b utnotlim it
                         e d to,unpa id wa g e s,liquid a t
                                                          e d d a m a g e s,c ost
                                                                                s,a nd

at
 torne ys’fe e s.

WHEREFORE, Pla int
                 iff Ge ra rd o M ora pra ysfora llof the following re lie f:

       A .     U npa id ove rt
                             im e pa y a nd a n a d d itiona l a nd e qua l a m ounta s

liquid a t
         e d d a m a g e spursua ntto t
                                      he FLSA a nd support
                                                         ing re g ula t
                                                                      ions;

       B .     U npa id ove rt
                             im e pa y a nd a n a d d itiona l a nd e qua l a m ounta s

liquid a t
         e d d a m a g e spursua ntto t
                                      he M FLSA a nd supporting re g ula t
                                                                         ions;

       C.      A d e c la ra t
                             oryjud g m e ntt
                                            ha tt
                                                he pra c tice sc om pla ine d of he re in a re

unla wfulund e rt
                he FLSA;

       D.      Liquid a t
                        e d d a m a g e sund e rM inn.St
                                                       at.177.
                                                             27,
                                                               sub d iv.8;

       E.      An a wa rd of prejud g m e nta nd post
                                                    -jud g m e ntint
                                                                   e rest
                                                                        ;

       F.      An a wa rd of rea sona b le a t
                                             torne y’sfe e sund e rt
                                                                   he FLSA.

       G.      An a wa rd of rea sona b le a t
                                             torne y’sfe e sund e rt
                                                                   he M FLSA.

       H .     An a wa rd of c ost
                                 sa nd e xpe nse sof t
                                                     hisa c t
                                                            ion,inc lud ing re a sona b le

e xpe rtfe e s;a nd

       I.      Suc hot
                     he rle g a la nd e quit
                                           a b le re lie f a st
                                                              he Courtd e e m sa ppropria t
                                                                                          e.




                                             10
         CASE 0:22-cv-02349-ECT-LIB Doc. 1 Filed 09/26/22 Page 11 of 11




                                           Re spe c t
                                                    fullysub m it
                                                                ted ,



Da t
   e d :Se pt
            e m b e r26,2022                  /s/ Philip J. Krzeski
                                              PhilipJ.Krze ski(#0403291)
                                              V e ronica W a lthe r(admission forthcoming)
                                              CHESTNUT CAMBRONNE PA
                                              100W a shing t  on Ave nue Sout    h,1700
                                              M inne a polis,M N 55401
                                              Te le phone :(612) 339-7300
                                              Fa x:(952) 336-2940
                                              pkrze ski@c he st nut c a m b ronne .
                                                                                  c om
                                              vwa lt he r@c he st
                                                                nut c a m b ronne .c om


                                        JURY DEMAND

       Pla int
             iffshe reb yd e m a nd a juryt
                                          ria lb yt
                                                  he m a xim um num b e rof pe rsons

pe rm it
       te d b yla w on a llissue she re in t
                                           ria b le t
                                                    o a jury.

                                                  /s/ Phil Krzeski
                                                  PhilipJ.Krze ski




                                             11
